
Turley, J.
delivered the opinion of the court.
In this case, we think, there was no fraud in the warranty of soundness of the slave; and that, therefore, the complainant must be left to his remedy at law upon his warranty.
There is nothing in the objection taken to this, upon the ground, that the defendant warranted as executor, and is, therefore, responsible in equity, because he is a trustee, and has a right, as such, to have the whole matter heard in chancery, where he can have compensation, if made responsible upon his warranty, against the estate.
The warranty is a personal covenant, for which the executor is personally responsible, although he execute it as executor, and is, therefore, liable at law.
What might be his rights against the estate, when he has been held personally responsible, we do not at present deem it proper to determine.
The decree will, therefore, be affirmed.
